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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-CR-60-CKK
                 v.                           :
                                              :
JESUS RIVERA,                                 :
                                              :
                       Defendant.             :

           PARTIES’ AMENDED JOINT PROPOSED SCHEDULING ORDER

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, submits the parties’ joint proposed scheduling order for the trial of this

matter. The undersigned counsel for the government has reviewed this proposed order with

counsel for the defendant, Guy Womack, Esq., who has authorized the government to submit this

proposed order on behalf of both parties. The proposed order is attached for the Court’s

consideration.




                                                   By:
                                                           JOHN W. BORCHERT
                                                           Assistant United States Attorney
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January 5, 2022
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of January 2022, I served a copy of the foregoing on

counsel for the defendant via the Court’s ECF system.




                                                            ______________________________
                                                            JOHN W. BORCHERT
                                                            Assistant United States Attorney




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